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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York



                                                     86 Chambers Street
                                                     New York, New York 10007


                                                     February 1, 2021

BY ECF
The Honorable Lorna G. Schofield
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     Pro Publica, Inc. v. U.S. Dept. of Health & Human Servs., 20 Civ. 4092 (LGS)

Dear Judge Schofield:

       I write respectfully on behalf of both parties in the above-referenced FOIA matter to
provide the Court with a status update, as directed by the Court’s Order dated September 11, 2020.
See Dkt. No. 24.

        On September 11, 2020, the Court ordered defendant the United States Department of
Health & Human Services (“HHS”) to “process and produce responsive non-exempt documents at
a rate of at least 1,000 pages per month.” Id. Accordingly, HHS has been processing and
producing such documents each month. HHS completed the first such production on October 13,
2020, completed the second such production on November 13, 2020, completed the third such
production on December 14, 2020, completed the fourth such production on January 14, 2021, and
will complete the fifth such production on February 16, 2021 (as February 14 is a Sunday and
February 15 is a federal holiday). In addition, as the parties previously indicated, HHS has
completed searching, processing and producing documents responsive to two of Plaintiff’s seven
requests. Finally, as the parties also previously indicated, they have agreed on specific searches –
including search terms, custodians, date ranges, and locations – for all but one of the seven
requests, and the parties have agreed to continue to meet and confer regarding the search for the
final request after HHS completes processing the others.

      Per the Court’s Order, see Dkt. No. 24, the parties will provide another status update on
March 1, 2021.
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We thank the Court for its consideration.

                                            Respectfully,

                                            AUDREY STRAUSS
                                            United States Attorney

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